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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF FLORIDA
                       ORLANDO DIVISION

ADAM U. STEINES, etc., et al.,

         Plaintiffs,                          Case No.: 6:22-CV-00629-RBD-
                                              GJK
vs.

WESTGATE PALACE, LLC, etc., et al.,

      Defendants.
____________________________/

      DEFENDANTS’ REPLY IN SUPPORT OF WESTGATE’S OPPOSED
                      MOTION TO DISMISS

        Defendants, WESTGATE PALACE, LLC, et al. (collectively “Westgate” or

“Defendants”), have moved, pursuant to Fed. R. Civ. P. 12(b)(6), to dismiss

Plaintiffs’ Complaint (ECF 1) (the “Complaint”).

                                INTRODUCTION

        Plaintiffs purchased and financed a timeshare interest from Westgate.

Despite Westgate’s undisputed compliance with an array of federal and state

disclosure laws – including the Truth in Lending Act, Regulation Z and RESPA –

Plaintiffs filed this class action against Westgate for allegedly violating the

Military Lending Act (the “MLA”). Westgate moved to dismiss (the “Motion”),

asserting that the financing transaction is exempt from the MLA under its

residential mortgage exemption. Plaintiffs Response (“Response”) made only two

arguments – that the MLA’s residential mortgage exception does not apply

because (1) Plaintiffs’ timeshare is not a real property interest, and (2) Plaintiffs’
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timeshare is housed in a structure containing 203 units. However, the Court

should reject Plaintiffs’ arguments for two reasons. First, a sister Court of this

District has already determined that that Plaintiffs’ exact timeshare interest—a

fee interest in a tenancy in common subject to a floating use plan—is a real

property interest. Second, the plain language of the MLA’s residential mortgage

exception shows it applies to individual units within structures containing more

than four units.

                                  LEGAL ARGUMENT

I.     Plaintiffs’ Timeshare Interest is a Dwelling under the MLA.

       The MLA exempts any “residential mortgage,” defined as “any credit

transaction secured by an interest in a dwelling.” See 32 C.F.R. § 232.3(f)(2)(i). A

dwelling is any “residential structure that contains one to four units” and

expressly includes, but is not limited to, “an individual condominium unit,

cooperative unit, mobile home, and manufactured home.” See 32 C.F.R. §

232.3(k). Plaintiffs acknowledge the term “interest” means only a “real property

interest”. (ECF 38 at 3) (“As explained later, ‘interest’ means a real property

interest…”).

       In the Response, Plaintiffs do not dispute and accordingly concede that

their timeshare is both mortgaged and residential, and that a fee interest is a real

property interest. (ECF 38 at 2, 13).1 Westgate now addresses the only issues


1.      See Jones v. Bank of Am., N.A., 564 F. App'x 432, 434 (11th Cir. 2014) (“[A] party's
failure to respond to any portion or claim in a motion indicates such portion, claim or defense is
unopposed.”); Singh v. Royal Caribbean Cruises Ltd., No. 20-24987-CIV, 2021 WL 6884873, at


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presented in the Response – (1) whether Plaintiffs’ timeshare interest is a real

property interest despite being subject to a floating use plan, and (2) whether

Plaintiffs’ individual timeshare unit is a dwelling despite being housed in a

structure containing 203 units.2 (ECF 38 at 2-4, 6-7, 11-12).

       A. Plaintiffs’ Timeshare is a real property interest.

       Plaintiffs’ assertion that their timeshare interest amounts to a license

simply ignores Florida law. A timeshare, whether floating or fixed, is a real

property interest because the Florida legislature, in the Florida Timesharing Act,

has made it so. See Fla. Stat. § 721.05(34). The express purpose of the Florida

Timesharing Act is to “[g]ive statutory recognition to real property timeshare

plans… in this state.” Fla. Stat. § 721.02 (emphasis added). Refuting Plaintiffs’

proffered law review article portraying timeshare as predatory – hardly a

compelling legal authority – the Florida Legislature recognized timeshare as a

“dynamic” and “important” part of the state’s economy:

       “The purposes of this chapter are to:

       (6) Recognize that the tourism industry in this state is a vital part of the state's
       economy; that the sale, promotion, and use of timeshare plans is an emerging,
       dynamic segment of the tourism industry; that this segment of the tourism
       industry continues to grow, both in volume of sales and in complexity and variety
       of product structure….”

Fla. Stat. § 721.02(6).

*16 (S.D. Fla. 2021) (“When a party fails to respond to an argument or otherwise address a
claim, the Court deems such an argument or claim abandoned.”).
2.      The Court should reject a sur-reply that makes arguments not asserted in their initial
Response, as any new argument would be an impermissible “second bite” at their initial
response to Westgate’s Motion. Gibbons v. McBride, 124 F. Supp. 3d 1342, 1383 (S.D. Ga. 2015)
(“The sur-reply brief may not be used to take another bite at answering an opposing party's
motion….”).


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      The Florida Legislature intended the Florida Timesharing Act to be

interpreted broadly, covering all forms of timesharing plans including specifically

the same types of property interests – i.e. condominiums and cooperative –

defined as dwellings under the MLA.

      (34) “Timeshare estate” means a right to occupy a timeshare unit, coupled
      with a freehold estate or an estate for years with a future interest in a
      timeshare property or a specified portion thereof, or coupled with an
      ownership interest in a condominium unit pursuant to s. 718.103, an
      ownership interest in a cooperative unit pursuant to s. 719.103, or a direct
      or indirect beneficial interest in a trust that complies in all respects with s.
      721.08(2)(c) 4. or s. 721.53(1)(e), provided that the trust does not contain
      any personal property timeshare interests. A timeshare estate is a
      parcel of real property under the laws of this state.

Fla. Stat. § 721.05(36) (emphasis added). When a right to occupy is coupled with

a “freehold estate” or “ownership interest” – as it is with the Westgate timeshare

Plaintiffs purchased and financed – the Timesharing Act makes the timeshare

real estate. Plaintiffs’ characterization of this statutorily defined real estate

interest as a license simply flies in the face of this controlling Florida statute.

Judge Byron rejected a similar mischaracterization of timeshare as personal

property in Bartine v. Diamond Resorts Mgmt., Inc., No. 6:18-cv-1364-ORL-

40TBS, 2019 WL 12536565, at *5 (M.D. Fla. June 13, 2019).

      Courts have routinely found that floating use and points-based timeshare

plans are real property interests under the Florida Timesharing Act. See Bartine,

2019 WL 12536565, at *5; Lennen v. Marriott Ownership Resorts, Inc., No. 19-

13215, 2021 WL 5834264, at *10 (11th Cir. 2021). Bartine settles this issue

outright. See 2019 WL 12536565, at *5. There, this Court found that a floating use


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timeshare plan is a timeshare estate under the Florida Timesharing Act and,

consequently, is real property. See id. Specifically, plaintiffs owned a fee simple

undivided timeshare interest as tenants in common, subject to a floating use plan

– the same exact timeshare interest as the Steines. See id. at *5. When plaintiffs

stopped paying on their timeshare, Diamond Resorts foreclosed on their

property. See id. Later, plaintiffs filed a class action against Diamond, alleging

violations of the Fair Debt Collections Act See id. As part of their claim, plaintiffs

alleged their timeshare was “personal property” and not a real property interest

because it was subject to a floating use plan and, in doing so, made the same

exact arguments as the Steines, which was ultimately rejected. See id.

          This Court found the Bartine plaintiffs’ floating use timeshare interest was

real property:

          “Put simply, Plaintiffs received one fee simple undivided timeshare
          interest as tenants in common with other owners, together with the
          exclusive right to occupy their assigned timeshare unit in accordance with
          the Declaration. Therefore, by statute, Plaintiffs received a timeshare
          estate and real property. See Fla. Stat. § 721.05(34).”

See id.

          In so holding, this Court in Bartine expressly rejected the Steines’

argument that a floating use timeshare interest is not real property, even when a

timesharing plan waives the right to a specific unit under a timeshare deed. See

id. Instead, the Court found that the terms of a floating use plan do not alter a

timeshare ownership interest and only outline the procedures of occupancy:

          “Plaintiffs claim that the Deed ‘is invalid and incapable of transferring any
          real property interest’ to them simply because they owned a ‘Floating’


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          timeshare interest that was is subject to a ‘Floating’ vacation ownership
          plan. Plaintiffs do not cite to any legal authority for support…

          However, this Section [of the floating use timesharing plan voiding the
          right to a specific unit] does not invalidate or alter Plaintiffs’ timeshare
          ownership. It merely outlines the procedures regarding Plaintiffs ‘use and
          occupancy’ of their assigned timeshare unit.”

See id.

          In Lennen, Judge Mendoza of this Court also recognized that a points-

based timeshare plan is a real property interest. See Lennen et al. v. Marriott

Ownership Resorts Inc. et al., Case No. 6:16-cv-00855-CEM-EJK (M.D. Fla.) (DE

258). There, plaintiffs owned a “points-based timeshare product in a multisite

timeshare plan [under which] purchasers [were] conveyed [an interest in a Land

Trust] which consist[ed] of forty-four Marriott-owned Legacy timeshare

condominiums.” See id. Although plaintiffs were never conveyed a specific

timeshare unit, this Court found that the timeshare ownership interest was an

ownership interest in real property:

          “The MVC Trust Instruments consist of MVC Consumer Deeds, mortgages,
          NOAs, and the Trust Memorandum. Each of these documents pertain to
          interests in timeshares estates comprising the MVC Plan. Those timeshare
          estates are interests in real property under Florida law. Therefore, the
          MVC Trust Instruments are ‘instruments relating to the ownership,
          transfer, or encumbrance of . . . or any interest in’ real property, and
          Orange County was required under section 28.222 to record them.”

See id.

          B. Plaintiffs’ Timeshare is not a License.

          Because this Court has already held that floating use timeshare interests

are real property, Plaintiffs’ argument that their timeshare interest is a license

fails as a matter of law. Nevertheless, several important factual distinctions show


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Plaintiffs’ timeshare is real property. For example, unlike the granting of a

license, Plaintiffs’ Purchase Agreement conveyed a defined and particularly

described fee interest in a parcel of real property, set a price, specified transaction

closing costs, and disclosed the pro rata share of ad valorem taxes the Plaintiffs

will owe. Westgate then conveyed the timeshare by a general warranty deed,

subject to a publicly recorded declaration, and provided a policy of title insurance

(ECF 1-1, ECF 28-1). Plaintiffs also executed a promissory note and real estate

mortgage, subject to default and foreclosure in the event of non-payment. (ECF 1-

2, ECF 28-1). These documents portray a real estate transaction not the granting

of a far more ephemeral license.

      The only two cases cited by Plaintiffs—(1) Keane v. President Condo. Ass'n,

Inc., and (2) In re Sombrero Reef Club, Inc.—are, quite clearly, inapposite. See

133 So. 3d 1154, 1155 (Fla. Dist. Ct. App. 2014); 18 B.R. 612, 619 (Bankr. S.D. Fla.

1982). In Keane the court did not discuss a timeshare interest at all but rather a

parking permit. See 133 So. 3d at 1155. In In re Sombrero—a 1982 opinion

suffering from substantial negative treatment—the court construed a vague

timeshare contract that explicitly provided that that the timeshare owner had “no

interest in the property.” See 18 B.R. at 619. Unlike Sombrero, Plaintiffs’

timeshare contract explicitly provided them with an ownership interest in the

203 unit building, to be discussed below, and the real estate upon which it is

situated. (ECF 1-1). Because Plaintiffs’ caselaw fails to present even a wisp of the

same factual or legal issues before the Court now, they should be rejected.


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      C. Plaintiffs’ Timeshare is a Dwelling Despite Being Housed in a
         Structure Containing more than four Units.

      Plaintiffs’ argument that the MLA’s residential mortgage exception applies

only to structures containing four units or less defies common sense and

nonsensicalizes the remaining language in that provision. While the MLA’s

definition of dwelling starts with a “residential structure that contains one to four

units,” it goes on to include individual parcels of real property like condominium

and cooperative units which are virtually always contained within a building of

many more than four units. See 32 C.F.R. § 232.3(k). Plaintiffs do not suggest

that only units in the tiniest of condominium and cooperative projects – four

units or fewer – are eligible for this exemption. So the supposed four-unit cap on

what is or can be a dwelling must mean something entirely different from what

Plaintiffs contend. Congress gives us no insight here. By specifying four units or

less, the MLA likely seeks to include within the exemption the purchase and

financing by a single owner of a duplex, triplex, or quadplex. Presumably four

units is the tipping point between residential and investment property. This

commonsense interpretation makes a single owner building of five units or more

an investment property rather than a residential property under the MLA, which

would not be subject to the MLA in any event.

      The timeshare is no less a dwelling because of the timeshare plan.

Plaintiffs’ assertion that the Steines purchased an interest in the entire building

mischaracterizes the timeshare regime. Plaintiffs became owners in common



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with others who share an interest in the unit identified as Building 1, Unit 1912.

The deed makes this clear.

       The floating use plan then provides the mechanism to arrange for the

residential occupancy of the timeshare interest. This does not change the real

estate interest acquired or Plaintiffs’ ownership of it. This is just like Bartine in

which the Court opined that the declaration does not modify ownership rights but

rather simply provides the procedure for occupancy. 2019 WL 12536565, at *5.

Under the Declaration, the “Floating Use Plan” is an arrangement whereby the

Steines released their occupancy rights in a specific unit, here, Unit 1-1912, in

consideration for receiving the right to request a reservation for any other

floating unit week within the building:




(ECF 28-1 at 68).

       By the plain terms of the Purchase Agreement and the Declaration, and

reinforced by the Florida Legislature, Plaintiffs’ purchased a real estate timeshare

interest. The timeshare is a dwelling because, like the other MLA examples,

people eat and sleep there.3 The floating use plan does nothing to change that.




3.      Plaintiffs do not argue, and nothing in the MLA suggests, that living in a unit otherwise
eligible for the exemption for less than 52 weeks a year negates the exemption. To be clear, no
minimum residency period in a dwelling is specified nor should one be concocted.


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 II.   Conclusion.

       In light of the contract, deed and Declaration – all of which Plaintiffs

 invoke – the timeshare is a dwelling and Plaintiffs’ mortgage is a residential

 mortgage and so exempt for the MLA. Westgate’s motion to dismiss should be

 granted.

 Dated: May 31, 2022                     Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 31, 2022, the foregoing was electronically

 filed with the clerk of the court using the CM/ECF Portal, which will send notice

 of filing and a service copy to all counsel of record.

                                         /s/ Jeffrey A. Backman
                                         JEFFREY A. BACKMAN




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